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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of         ) Civil Action No. 19-cv-15962-JXN-
   North Carolina, and CommScope              ) LDW
   Technologies, LLC,                         )
                                              )
                Plaintiffs,                   )
                                              )   DECLARATION OF FARID
   v.                                         ) FIROUZBAKHT IN SUPPORT
                                              ) OF JOINT MOTION TO SEAL
   Rosenberger Technology (Kunshan)           ) MATERIALS SUBMITTED IN
   Co. Ltd., Rosenberger Asia Pacific         )       CONNECTION WITH
   Electronic Co., Ltd., Rosenberger          ) COMMSCOPE’S MOTION TO
   Technology LLC, Rosenberger USA            )              COMPEL
   Corp., Rosenberger North America           )
   Pennsauken, Inc., Rosenberger Site         )
   Solutions, LLC, Rosenberger                )
   Hochfrequenztechnik GmbH & Co.             )
   KG, Northwest Instrument, Inc., and        )
   CellMax Technologies AB,                   )
                                              )
                Defendants.                   )
                                              )

  I, Farid Firouzbakht, declare as follows:

        1.     I am the Senior Vice President for Outdoor Wireless Networks at

  CommScope, Inc. (“CommScope”). CommScope’s base station antenna (“BSA”)

  products are part of its Outdoor Wireless Networks business. I make this

  Declaration in support of the Joint Motion to Seal (the “Motion”) in accordance

  with Local Civil Rules 5.3(c)(3) and 7.2 in connection with sealing portions of the

  sealing portions of the materials submitted with CommScope’s Letter Request to
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  Compel Rosenberger to Produce Specific Hardware Discovery (ECF No. 490);

  Declaration of Randall E. Kahnke in Support of CommScope’s Motion to Compel

  Specific Hardware Discovery Against Rosenberger Defendants ( ECF No. 490-1)

  and Exhibits thereto (ECF Nos. 490-2, 490-5 to 490-18, 490-20 to 490-22, and

  490-24 to 420-25); Expert Declaration of Dr. Daniel van der Weide with Respect

  to Issues Raised in CommScope’s Letter Motion to Compel Specific Hardware

  Discovery (ECF No. 490-26); Declaration of Martin Zimmerman, Ph.D. in Support

  of CommScope’s Motion to Compel Specific Hardware Discovery Against

  Rosenberger Defendants (ECF No. 490-30) and Exhibits thereto (ECF Nos. 490-31

  to 490-32); Rosenberger’s Letter Opposition to CommScope Letter Motion to

  Compel (ECF No. 495); and Exhibits to the Declaration of John Lu in Support of

  Rosenberger’s Opposition to CommScope’s Motion to Compel (ECF Nos. 495-2,

  and 494-5 to 495-12) (collectively, the “Identified Materials”).

        2.     The documents identified in the Consolidated Index submitted

  herewith should be maintained under seal on the Court’s docket because each

  contains confidential, proprietary, and non-public information regarding, for

  example: (1) CommScope’s trade secrets; (2) confidential and nonpublic

  information about CommScope’s products, business practices, and strategies; and

  (3) discovery documents that the parties have deemed Confidential or Attorneys’




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  Eyes Only under the Discovery Confidentiality Order entered by the Court on

  September 24, 2019.

        3.     Based upon my own knowledge, public disclosure of this information

  would cause clearly defined and serious injury to CommScope. The redacted

  portions of the material that CommScope seeks to seal and/or the materials that

  CommScope seeks to seal in their entirety are now narrowly tailored to material

  that discloses confidential, proprietary, and non-public information and/or

  information contained in discovery materials that have been designated

  Confidential or Attorneys’ Eyes Only by the propounding party.

        4.     There are no objections to the Motion by either party.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct.



  Executed on: January 6, 2022



                                               ______________________________
                                               Farid Firouzbakht




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